          Case 3:19-cv-03371-EMC Document 153 Filed 03/22/22 Page 1 of 4



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                                                            CORPORATION
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   DOLBY LABORATORIES, INC.
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12

13                               UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
15                                    SAN FRANCISCO DIVISION
16 DOLBY LABORATORIES, INC.,                          )
                                                      )
17     Plaintiff and Counterclaim-Defendant,          )
                                                      )      Case No. 3:19-cv-03371-EMC
18                   v.                               )
                                                      )
19 INTERTRUST TECHNOLOGIES                            )
   CORPORATION,                                       )      JOINT STATUS REPORT
20                                                    )
     Defendant and Counterclaim-Plaintiff.            )
21                                                    )
                                                      )
22                                                    )
                                                      )
23
             Pursuant to Federal Rule of Civil Procedure 16, Civil Local Rule 16-9, the Standing Order
24
     for All Judges of the Northern District of California – Contents of Joint Case Management Statement,
25
     this Court’s Civil Standing Order – General, and the March 7, 2022 Clerk’s Notice Setting Zoom
26
     Hearing, Plaintiff and Counterclaim-Defendant Dolby Laboratories, Inc. and Defendant and
27
     Counterclaim-Plaintiff Intertrust Technologies Corporation, respectfully submit this Joint Status
28
     Report informing the Court that the parties have reached a settlement of all issues and expect to file
                                                      -1-
     JOINT STATUS REPORT                                                          CASE NO. 3:19-CV-03371-EMC
          Case 3:19-cv-03371-EMC Document 153 Filed 03/22/22 Page 2 of 4



 1 a stipulation dismissing all claims and counterclaims within the next fourteen (14) days.

 2 Accordingly, the parties respectfully request the Court cancel the March 29, 2022 status conference

 3 in light of the anticipated dismissal.

 4

 5                                          Respectfully submitted,
 6
      Date: March 22, 2022                  By: /s/ Mark D. Rowland
 7
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27
      Date: March 22, 2022                  By: /s/ Tigran Guledjian
28
                                               William C. Price (Bar No. 108542)
                                                   -2-
     JOINT STATUS REPORT                                                      CASE NO. 3:19-CV-03371-EMC
          Case 3:19-cv-03371-EMC Document 153 Filed 03/22/22 Page 3 of 4



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     JOINT STATUS REPORT                                              CASE NO. 3:19-CV-03371-EMC
         Case 3:19-cv-03371-EMC Document 153 Filed 03/22/22 Page 4 of 4



 1                                                  ATTESTATION
 2          I, Mark D. Rowland, am the ECF user whose identification and password are being used to
 3 file this Joint Status Report. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that all signatories

 4 to this document have concurred in this filing.

 5 DATED: March 22, 2022
                                                            /s/ Mark D. Rowland
 6                                                          Mark D. Rowland
 7

 8

 9                                         CERTIFICATE OF SERVICE
10          I hereby certify that on March 22, 2022, I caused the foregoing document to be electronically
11 filed with the Clerk of the Court using CM/ECF.

12 DATED: March 22, 2022

13
                                                            /s/ Mark D. Rowland
14                                                          Mark D. Rowland
15

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     CERTIFICATE OF SERVICE                                                          CASE NO. 3:19-CV-03371-EMC
